 Case 18-26407-JKS             Doc 36 Filed 10/19/18 Entered 10/20/18 00:37:58                       Desc Imaged
                                     Certificate of Notice Page 1 of 3
Form 170 − ntchrgdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 18−26407−JKS
                                         Chapter: 11
                                         Judge: John K. Sherwood

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Franciscus Maria Dartee
   aka Frank M Dartee
   c/o 12 Moonshadow Court
   Kinnelon, NJ 07405
Social Security No.:
   xxx−xx−1197
Employer's Tax I.D. No.:


                               NOTICE OF HEARING ON DISMISSAL OF CASE



Notice is hereby given that:

      A Motion to Dismiss has been filed by Michael A. Artis on behalf of U.S. Trustee.

      An Order to Show Cause Why the Case Should Not be Dismissed concerning the issue highlighted below has
been entered by the Court.

          The debtor has not complied with the credit counseling requirements of the Bankruptcy Code.

          The debtor is a corporation and has filed under Chapter 13 of the Bankruptcy code.

          The corporate debtor is self−represented.

          Other: .

A hearing to determine if there is cause for dismissal will be held by the Honorable John K. Sherwood on,

Date: 11/20/18
Time: 10:00 AM
Location: Courtroom 3D, Martin Luther King, Jr. Federal Building, 50 Walnut Street, Courtroom 3D, Newark, NJ
07102




Dated: October 17, 2018
JAN:
Case 18-26407-JKS   Doc 36 Filed 10/19/18 Entered 10/20/18 00:37:58   Desc Imaged
                          Certificate of Notice Page 2 of 3
                                                Jeanne Naughton
                                                Clerk
      Case 18-26407-JKS               Doc 36 Filed 10/19/18 Entered 10/20/18 00:37:58                                Desc Imaged
                                            Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 18-26407-JKS
Franciscus Maria Dartee                                                                                    Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: Oct 17, 2018
                                      Form ID: 170                       Total Noticed: 15


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 19, 2018.
db             +Franciscus Maria Dartee,    c/o 12 Moonshadow Court,   Kinnelon, NJ 07405-2949
517704240      +American Express,   PO Box 981537,    El Paso, TX 79998-1537
517730381       American Express National Bank,    c/o Becket and Lee LLP,    PO Box 3001,
                 Malvern PA 19355-0701
517815671      +Bank of America, N.A.,    P O Box 982284,   El Paso, TX 79998-2284
517704241      +Chase Card,   PO Box 15298,    Wilmington, DE 19850-5298
517704239      +IRS Centralized Lien Operations,    201 W. River Center Blvd,    Stop 8420-G,
                 Covington, KY 41011-1424
517704236      +RAS Citron, LLC,   130 Clinton Rd,    Ste 202,   Fairfield, NJ 07004-2927
517704237      +Superior Court Clerk’ s Office,    Office of Forclosure,   25 Market Street,    PO Box 971,
                 Trenton, NJ 08625-0971
517723936      +THE BANK OF NEW YORK MELLON,    RAS Citron, LLC,   130 Clinton Road, Suite 202,
                 Fairfield, NJ 07004-2927
517812102      +THE BANK OF NEW YORK MELLON,    Nationstar Mortgage LLC d/b/a Mr. Cooper,
                 ATTN: Bankruptcy Dept,    PO Box 619096,   Dallas TX 75261-9096
517704235      +The Bank of New York ME,    28 Liberty Street,   New York, NY 10286-0001
517704238      +The Honorable Robert J Brennan,    Morris County Courthouse,    Washington & Court Streets,
                 PO Box 910,   Morristown, NJ 07963-0910

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: cio.bncmail@irs.gov Oct 18 2018 00:46:18      Dist Dir of IRS,
                 Insolvency Function,   PO Box 724,    Springfield, NJ 07081-0724
smg             E-mail/Text: usanj.njbankr@usdoj.gov Oct 18 2018 00:47:14      U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Oct 18 2018 00:47:10      United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,   One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
                                                                                              TOTAL: 3

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*            +THE BANK OF NEW YORK MELLON,    RAS Citron, LLC,   130 Clinton Road, Suite 202,
                 Fairfield, NJ 07004-2927
517730298*     +Internal Revenue Service,    PO Box 7346,   Philadelphia, PA 19101-7346
                                                                                             TOTALS: 0, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 19, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 15, 2018 at the address(es) listed below:
              Laura M. Egerman   on behalf of Creditor   THE BANK OF NEW YORK MELLON bkyecf@rasflaw.com,
               bkyecf@rasflaw.com;legerman@rasnj.com
              Michael A. Artis   on behalf of U.S. Trustee   U.S. Trustee michael.a.artis@usdoj.gov
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                            TOTAL: 3
